                      Case 14-28908                              Doc 1                 Filed 08/06/14 Entered 08/06/14 16:45:11                                                              Desc Main
B1 (Official Form 1) (4/13)                                                              Document     Page 1 of 47
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                          NORTHERN DISTRICT OF ILLINOIS
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Watanabe, Jason E                                                                                                    Watanabe, Kori L
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE                                                                                                                 NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   5179                                                                                (if more than one, state all):   0890
  Street Address of Debtor (No. & Street, City, and State):                                                            Street Address of Joint Debtor                    (No. & Street, City, and State):
  920 Neufairfield Drive                                                                                               920 Neufairfield Drive
  Joliet, IL                                                                                                           Joliet, IL
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               60432                                                                                                             60432
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Will                                                                 Principal Place of Business:                   Will
  Mailing Address of Debtor                  (if different from street address):                                    Mailing Address of Joint Debtor                       (if different from street address):

  SAME                                                                                                             SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
                  Case 14-28908                   Doc 1           Filed 08/06/14 Entered 08/06/14 16:45:11                                                   Desc Main
B1 (Official Form 1) (4/13)                                         Document     Page 2 of 47                                                                         FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
                                                                                             Jason E Watanabe                       and
  (This page must be completed and filed in every case)
                                                                                             Kori L Watanabe
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Bernard P. Mulvaney Sr.                                                   08/06/2014
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                   Case 14-28908                         Doc 1   Filed 08/06/14 Entered 08/06/14 16:45:11                                   Desc Main
B1 (Official Form 1) (4/13)                                        Document     Page 3 of 47                                                         FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
                                                                                     Jason E Watanabe                 and
   (This page must be completed and filed in every case)
                                                                                     Kori L Watanabe
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Jason E Watanabe
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X /s/ Kori L Watanabe
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     08/06/2014                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Bernard P. Mulvaney Sr.                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Bernard P. Mulvaney Sr. 6184734
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Bernard P. Mulvaney Sr., Ltd.                                              pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     7000 West 127th Street                                                     or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.


     Palos Heights, IL                         60463
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     708-671-2000
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     08/06/2014                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
                 Case 14-28908
B 1D (Official Form 1, Exhibit D) (12/09)     Doc 1        Filed 08/06/14 Entered 08/06/14 16:45:11                                    Desc Main
                                                             Document     Page 4 of 47

                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS


In re Jason E Watanabe                                                                                                    Case No.
      and                                                                                                                 Chapter 7
      Kori L Watanabe

                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
briefing.
                  Case 14-28908
 B 1D (Official Form 1, Exhibit D) (12/09)      Doc 1        Filed 08/06/14 Entered 08/06/14 16:45:11                                     Desc Main
                                                               Document     Page 5 of 47
               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:      /s/ Kori L Watanabe
 Date:    08/06/2014
                 Case 14-28908
B 1D (Official Form 1, Exhibit D) (12/09)     Doc 1        Filed 08/06/14 Entered 08/06/14 16:45:11                                    Desc Main
                                                             Document     Page 6 of 47

                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS


In re Jason E Watanabe                                                                                                    Case No.
      and                                                                                                                                 (if known)
      Kori L Watanabe
                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
                  Case 14-28908
 B 1D (Official Form 1, Exhibit D) (12/09)      Doc 1        Filed 08/06/14 Entered 08/06/14 16:45:11                                     Desc Main
                                                               Document     Page 7 of 47
               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Jason E Watanabe
                                    Date:    08/06/2014
                   Case 14-28908
FORM B6A (Official Form 6A) (12/07)        Doc 1      Filed 08/06/14 Entered 08/06/14 16:45:11                             Desc Main
                                                        Document     Page 8 of 47

In re Jason E Watanabe                and Kori L Watanabe                                        ,                Case No.
                                      Debtor(s)                                                                                                (if known)


                                               SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


920 Neufairfield, Joliet, IL 60432 - Fee Simple                                                              J      $233,305.00           $223,470.00
single   family  residence  -  zillow
estimate




No continuation sheets attached                                                            TOTAL $                 233,305.00
                                                                    (Report also on Summary of Schedules.)
                        Case 14-28908
B6B (Official Form 6B) (12/07)                          Doc 1   Filed 08/06/14 Entered 08/06/14 16:45:11                             Desc Main
                                                                  Document     Page 9 of 47
In re Jason E Watanabe                            and Kori L Watanabe                                     ,                  Case No.
                                                   Debtor(s)                                                                                                     (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                     N            Description and Location of Property                                                  Value
                                                                                                                                                of Debtor's Interest,
                                                    o                                                                       Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                    n                                                                                            Secured Claim or
                                                                                                                               Joint--J
                                                    e                                                                     Community--C               Exemption


1. Cash on hand.                                        Cash                                                                           J                     $500.00
                                                        Location: In debtor's possession


2. Checking, savings or other financial                 5th3rd Bank - Personal Checking account -                                      J                     $700.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building         Approx balance $600.00 - value fluctuates
   and loan, and homestead associations, or                                as living expenses are
   credit unions, brokerage houses, or
   cooperatives.                                        paid
                                                                            - Savings Account
                                                        balance approx $100.00
                                                        Location: In debtor's possession


                                                        Chase Checking & Savings Accounts - accounts                                   J                     Unknown
                                                        may have a small negative balance after
                                                        Chase attached/withdrew from the account.
                                                        Location: In debtor's possession


3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                     Misc used household furniture                                                  J                 $1,500.00
   including audio, video, and computer
   equipment.                                           Location: In debtor's possession


5. Books, pictures and other art objects,          X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                     Clothing - 4 seasons, work and business,                                       J                 $2,000.00
                                                        family of three
                                                        Location: In debtor's possession




Page       1     of     4
                        Case 14-28908
B6B (Official Form 6B) (12/07)                           Doc 1   Filed 08/06/14 Entered 08/06/14 16:45:11             Desc Main
                                                                  Document     Page 10 of 47
In re Jason E Watanabe                             and Kori L Watanabe                                   ,     Case No.
                                                    Debtor(s)                                                                                 (if known)


                                                         SCHEDULE B-PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                                                                                                  Current
               Type of Property                      N            Description and Location of Property                             Value
                                                                                                                             of Debtor's Interest,
                                                     o                                                         Husband--H    in Property Without
                                                                                                                   Wife--W      Deducting any
                                                     n                                                                        Secured Claim or
                                                                                                                  Joint--J
                                                     e                                                       Community--C         Exemption

7. Furs and jewelry.                                X

8. Firearms and sports, photographic, and           X
   other hobby equipment.

9. Interests in insurance policies. Name                 Met Life Term Insurance - 500 k - death                        W                     $0.00
   insurance company of each policy and
   itemize surrender or refund value of each.            benefit - $65.88 premium - no cash value
                                                         Location: In debtor's possession


                                                         Protective Life Term Insurance - 800k death                    H                     $0.00
                                                         benefit - $432.00 annual premium - no cash
                                                         value
                                                         Location: In debtor's possession


10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                      VCSP/CollegeAmerica - as FBO minor children                    J             $7,074.41
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in         - value as of 1-1-14
    26 U.S.C. 529(b)(1). Give particulars.               Location: In debtor's possession
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)



12. Interests in IRA, ERISA, Keogh, or other             JP Morgan Retirment Plan of Walgreens Profit                   H         $114,701.56
    pension or profit sharing plans. Give
    particulars.                                         Sharing Retirement Plan - value as of
                                                         6/7/14, encumbered by loan of $30,902.29.
                                                         Location: In debtor's employer's possession


                                                         TD Ameritrade - IRA - value as of 5-31-14                      J           $31,653.86
                                                         Location: In debtor's possession


                                                         Walgreens Stock Option Plan - partially                        J                 Unknown
                                                         vested
                                                         Location: In debtor's possession


13. Stock and interests in incorporated and              JK Wash LLC - family laudromat business -                      J         $100,000.00
    unincorporated businesses. Itemize.
                                                         equipment is fully secured by loan from
                                                         Chase Bank - value is the estimated
                                                         equipment value only
                                                         Location: In debtor's possession



Page       2     of      4
                         Case 14-28908
B6B (Official Form 6B) (12/07)                           Doc 1   Filed 08/06/14 Entered 08/06/14 16:45:11             Desc Main
                                                                  Document     Page 11 of 47
In re Jason E Watanabe                             and Kori L Watanabe                                   ,     Case No.
                                                    Debtor(s)                                                                                 (if known)


                                                         SCHEDULE B-PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                                                                                                  Current
               Type of Property                      N            Description and Location of Property                             Value
                                                                                                                             of Debtor's Interest,
                                                     o                                                         Husband--H    in Property Without
                                                                                                                   Wife--W      Deducting any
                                                     n                                                                        Secured Claim or
                                                                                                                  Joint--J
                                                     e                                                       Community--C         Exemption



14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other              2008 Hyundai - Entourage - 80,000 - kbb est                    J             $4,500.00
    vehicles and accessories.
                                                         Location: In debtor's possession


                                                         2008 Hyundai - Santa Fe - 111,000 mi - kbb                     J             $5,000.00
                                                         est
                                                         Location: In debtor's possession


26. Boats, motors, and accessories.                 X

27. Aircraft and accessories.                       X



Page       3     of      4
                       Case 14-28908
B6B (Official Form 6B) (12/07)                      Doc 1   Filed 08/06/14 Entered 08/06/14 16:45:11                       Desc Main
                                                             Document     Page 12 of 47
In re Jason E Watanabe                        and Kori L Watanabe                                   ,              Case No.
                                               Debtor(s)                                                                                              (if known)


                                                    SCHEDULE B-PERSONAL PROPERTY
                                                                      (Continuation Sheet)

                                                                                                                                          Current
                 Type of Property               N            Description and Location of Property                                          Value
                                                                                                                                     of Debtor's Interest,
                                                o                                                                  Husband--H        in Property Without
                                                                                                                       Wife--W          Deducting any
                                                n                                                                                     Secured Claim or
                                                                                                                      Joint--J
                                                e                                                                Community--C             Exemption

28. Office equipment, furnishings, and         X
    supplies.

29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       4      of   4                                                                                      Total                        $267,629.83
                                                                                                                  (Report total also on Summary of Schedules.)
                                                                                                        Include amounts from any continuation sheets attached.
                    Case 14-28908
B6C (Official Form 6C) (04/13)                 Doc 1        Filed 08/06/14 Entered 08/06/14 16:45:11                     Desc Main
                                                             Document     Page 13 of 47


In re Jason E Watanabe                 and Kori L Watanabe                                     ,                  Case No.
                                       Debtor(s)                                                                                                   (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                  Current
             Description of Property                                Providing each                             Claimed              Value of Property
                                                                      Exemption                               Exemption             Without Deducting
                                                                                                                                       Exemptions


920 Neufairfield, Joliet, IL                        735 ILCS 5/12-901                                           $ 9,835.00             $ 233,305.00
60432

Cash                                                735 ILCS 5/12-1001(b)                                          $ 500.00                     $ 500.00

5th3rd Bank                                         735 ILCS 5/12-1001(b)                                          $ 700.00                     $ 700.00

Chase Checking & Savings                            735 ILCS 5/12-1001(b)                                             $ 0.00                     Unknown
Accounts

Misc used household furniture                       735 ILCS 5/12-1001(b)                                       $ 1,500.00                $ 1,500.00

Clothing                                            735 ILCS 5/12-1001(a)                                       $ 2,000.00                $ 2,000.00

Met Life Term Insurance                             735 ILCS 5/12-1001(f)                                             $ 0.00                      $ 0.00

Protective Life Term Insurance                      735 ILCS 5/12-1001(f)                                             $ 0.00                      $ 0.00

VCSP/CollegeAmerica                                 15 ILCS 505/16.5                                            $ 7,074.41                $ 7,074.41

JP Morgan Retirment Plan                            735 ILCS 5/12-1006                                       $ 114,701.56              $ 114,701.56

TD Ameritrade - IRA                                 735 ILCS 5/12-1006                                         $ 31,653.86              $ 31,653.86

Walgreens Stock Option Plan                         735 ILCS 5/12-1006                                                $ 0.00                     Unknown

JK Wash LLC                                         735 ILCS 5/12-1001(b)                                             $ 0.00           $ 100,000.00

2008 Hyundai - Entourage                            735 ILCS 5/12-1001(c)                                       $ 4,500.00                $ 4,500.00

2008 Hyundai - Santa Fe                             735 ILCS 5/12-1001(c)                                         $ 300.00                $ 5,000.00
                                                    735 ILCS 5/12-1001(b)                                       $ 4,700.00


    Page No.      1 of       1

* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                     Case 14-28908             Doc 1                 Filed 08/06/14 Entered 08/06/14 16:45:11                                      Desc Main
                                                                      Document     Page 14 of 47

B6D (Official Form 6D) (12/07)



In re Jason E Watanabe              and Kori L Watanabe                                             ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated




              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed




                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:   1001                                            J                                                      X X                $ 216,129.00                  $ 116,129.00

Creditor # : 1
J P Morgan Chase Comm'l Loan
P.O. Box 6026                                                     JK Wash LLC
Chicago IL 60680


                                                                Value: $ 100,000.00
Account No:   7185                                            J 2011-02-07                                                              $ 223,470.00                               $ 0.00

Creditor # : 2                                                    Mortgage
Fifth Third Bank
5050 Kingsley Dr                                                  920 Neufairfield, Joliet, IL
Cincinnati OH 45227                                               60432


                                                                  Value:   $ 233,305.00
No continuation sheets attached                                                                                Subtotal $               $ 439,599.00                  $ 116,129.00
                                                                                                            (Total of this page)
                                                                                                                     Total $            $ 439,599.00                  $ 116,129.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
                     Case 14-28908
B6E (Official Form 6E) (04/13)                     Doc 1          Filed 08/06/14 Entered 08/06/14 16:45:11                                      Desc Main
                                                                   Document     Page 15 of 47
In re Jason E Watanabe                 and Kori L Watanabe                                               ,                             Case No.
                                            Debtor(s)                                                                                                       (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        No continuation sheets attached
                    Case 14-28908              Doc 1                 Filed 08/06/14 Entered 08/06/14 16:45:11                                                                         Desc Main
                                                                      Document     Page 16 of 47
B6F (Official Form 6F) (12/07)


In re Jason E Watanabe                and Kori L Watanabe                                                          ,                                   Case No.
                                         Debtor(s)                                                                                                                                                         (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          6670
Account No:                                                         J                                                                                     X X                                          $ 1,684.62
Creditor # : 1
Aronberg Goldgehn et al                                                  JK Wash - Attorneys Fees- potential
330 N Wabash, Ste 1700
Chicago IL 60611                                                         personal liability




          5498
Account No:                                                             2012-05-12                                                                                                                     $ 4,926.00
Creditor # : 2
Chase
Po Box 15298
Wilmington DE 19850



          6552
Account No:                                                             2013-03-05                                                                                                                     $ 8,251.00
Creditor # : 3
Citi
Po Box 6241
Sioux Falls SD 57117



     5 continuation sheets attached                                                                                                                  Subtotal $                                       $ 14,861.62
                                                                                                                                                                     Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-28908              Doc 1                 Filed 08/06/14 Entered 08/06/14 16:45:11                                                                         Desc Main
                                                                      Document     Page 17 of 47
B6F (Official Form 6F) (12/07)   - Cont.


In re Jason E Watanabe                 and Kori L Watanabe                                                         ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1491
Account No:                                             X J                                                                                               X X                                         $ 16,500.00
Creditor # : 4
City of Chicago                                                          Water Service - JK Wask LLC -
The Department of Water
333 S State St., Ste 330                                                 possible personal liability
Chicago IL 60604


          4174
Account No:                                                         J                                                                                     X X                                             $ 120.00
Creditor # : 5
City of Chicago                                                          JK Wash - Ann Fee - potential
The Department of Revenue
120 N Racine                                                             personal liability
Chicago IL 60607


Account No:     4174
Representing:                                                           City of Chicago
                                                                        121 North LaSalle St
                                                                        City Hall Rm 107A
City of Chicago                                                         Chicago IL 60602



          8033
Account No:                                                         J                                                                                     X X                                          $ 1,148.59
Creditor # : 6
ComEd                                                                    JK Wash LLC - potential personal
P.O. Box 6111
Carol Stream IL 60197                                                    liability




          3398
Account No:                                                         J                                                                                     X X                                             $ 211.96
Creditor # : 7
Direct TV                                                                JK Wash - potential personal
P.O. Box 60036
Los Angeles CA 90060                                                     liability




Sheet No.      1 of        5 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 17,980.55
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-28908              Doc 1                 Filed 08/06/14 Entered 08/06/14 16:45:11                                                                         Desc Main
                                                                      Document     Page 18 of 47
B6F (Official Form 6F) (12/07)   - Cont.


In re Jason E Watanabe                 and Kori L Watanabe                                                         ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          2773
Account No:                                                             1995-09-01                                                                                                                     $ 8,674.00
Creditor # : 8
Discover Fin Svcs Llc
Po Box 15316
Wilmington DE 19850



Account No:                                                         J                                                                                                  X                                   Unknown
Creditor # : 9
Dr.Pepper 7UP Btlg Co of Chgo
15230 S Halsted
Harvey IL 60426



          39-1
Account No:                                                         J                                                                                     X X                                              $ 74.00
Creditor # : 10
Filter Services Inc                                                      JK Wash - potential personal
2555 United Ln
Elk Grove Village IL 60007                                               liability




          0703
Account No:                                                         J                                                                                     X X                                             $ 449.00
Creditor # : 11
Hartford Insurance                                                       JK Wash - Sentnel Ins Co. -
P.O. Box 660916
Dallas TX 75266                                                          potential personal liability




Account No:                                                         J                                                                                     X X                                          $ 6,272.00
Creditor # : 12
Heidner Property Management Co.                                          JK Wash - June lease - potential
399 Wall St., Unit H
Glendale Heights IL 60139                                                personal liability




Sheet No.      2 of        5 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 15,469.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-28908              Doc 1                 Filed 08/06/14 Entered 08/06/14 16:45:11                                                                         Desc Main
                                                                      Document     Page 19 of 47
B6F (Official Form 6F) (12/07)   - Cont.


In re Jason E Watanabe                 and Kori L Watanabe                                                         ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          94-1
Account No:                                                         J   4-2-2014                                                                                       X                                  $ 358.00
Creditor # : 13                                                         Medical Bills
Ingalls Memorial Hospital
P.O. Box 3397
Chicago IL 60654



Account No:                                                         J                                                                                     X X                                         $ 90,000.00
Creditor # : 14
Joseph Pondelicek                                                        Business Loan
20508 Coventry Court
Frankfort IL 60423



          1704
Account No:                                                         J                                                                                                  X X                                $ 200.00
Creditor # : 15
JP Morgaan Chase Bank, NA                                                multiple deposit & checking
PO Box 659754
San Antonio TX 78265                                                     accounts - estimated negative
                                                                         balances on accounts



          9151
Account No:                                                             2008-01-30                                                                                                                         $ 90.00
Creditor # : 16
Kohls/capone
N56 W 17000 Ridgewood Dr
Menomonee Falls WI 53051



          1407
Account No:                                                             1994-03-13                                                                                                                        $ 698.00
Creditor # : 17
Kohls/capone
N56 W 17000 Ridgewood Dr
Menomonee Falls WI 53051




Sheet No.      3 of        5 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 91,346.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-28908              Doc 1                 Filed 08/06/14 Entered 08/06/14 16:45:11                                                                         Desc Main
                                                                      Document     Page 20 of 47
B6F (Official Form 6F) (12/07)   - Cont.


In re Jason E Watanabe                 and Kori L Watanabe                                                         ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3710
Account No:                                                         J   9-2013                                                                                         X                                  $ 208.51
Creditor # : 18                                                         Medical Bills
Lutheran General Hospital                                               Minor account
c/o ICS
P.O. Box 1010
Tinley Park IL 60477


Account No:                                             X J                                                                                               X X                                               $ 0.00
Creditor # : 19
Michael Jabaay                                                           potential guarantor of commercial
14033 S Cicero Avenue
Midlothian IL 60445                                                      lease




          Wash
Account No:                                                         J   10-7-10                                                                           X X X                                       $ 62,031.98
Creditor # : 20                                                         Rent in Arrears
Parkway Bank & Trust atut                                               commercial lease guarantee, claim
#11052
c/o Heidner Prop Mgt Co., Inc.                                          amout in complaint 2014 M1 711173,
399 Wall St., Unit H                                                    complaint seeks additional rent
Glendale Heights IL 60139

Account No:     Wash
Representing:                                                           Christopher J. Goluba P.C.
                                                                        399 Wall Street, Unit H
                                                                        Glendale Heights IL 60139
Parkway Bank & Trust atut                    #11052



          0321
Account No:                                                         J                                                                                     X X                                         $ 12,567.83
Creditor # : 21
People Gas                                                               JK Wash LLC - possible personal
P.O. Box 19100
Green Bay WI 54307                                                       liability




Sheet No.      4 of        5 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 74,808.32
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-28908              Doc 1                 Filed 08/06/14 Entered 08/06/14 16:45:11                                                                         Desc Main
                                                                      Document     Page 21 of 47
B6F (Official Form 6F) (12/07)   - Cont.


In re Jason E Watanabe                 and Kori L Watanabe                                                         ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          6504
Account No:                                                         J   4-4-2014                                                                                       X                                  $ 139.00
Creditor # : 22                                                         Medical Bills
Radiology Imaging Consult
9413 Eagle Way
Chicago IL 60678



          5225
Account No:                                                             2013-03-18                                                                                                                     $ 5,035.00
Creditor # : 23
Sears/cbna
Po Box 6283
Sioux Falls SD 57117



          8282
Account No:                                                         J                                                                                     X X                                             $ 200.00
Creditor # : 24
Security One                                                             est - JK Wash - potential personal
11601 Wilshire Blvd
Los Angeles CA 90025                                                     liability




          2464
Account No:                                                         J                                                                                     X X                                         $ 13,000.00
Creditor # : 25
Susquehanna Commercial Finance                                           JK Wash, York HVAC financing,
2County View Road, Ste 300
Malvern PA 19355                                                         potential personal liability




          09-5
Account No:                                                         J                                                                                     X X                                             $ 229.48
Creditor # : 26
Waste Managment                                                          JK Wash - potential personal
700 E Butterfield Rd., 4th Fl
Lombard IL 60148                                                         liability




Sheet No.      5 of        5 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 18,603.48
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                    $ 233,068.97
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-28908
B6G (Official Form 6G) (12/07)                    Doc 1         Filed 08/06/14 Entered 08/06/14 16:45:11                                    Desc Main
                                                                 Document     Page 22 of 47

In re Jason E Watanabe                   and Kori L Watanabe                                                   / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.


Heidner Property Management                                     Contract Type: Non-residential lease * *
Company, Inc.                                                   Terms:
Mging Agent for Parkway B&T                                     Beginning date:
399 Wall Street, Unit H                                         Debtor's Interest:Lease Guarantors
Glendale Heights IL 60139                                       Description: JK Wash & Dry LLC, laundromat
                                                                Buyout Option:




                                                                                                                                                         Page      1 of          1
                    Case 14-28908
B6H (Official Form 6H) (12/07)                 Doc 1   Filed 08/06/14 Entered 08/06/14 16:45:11                       Desc Main
                                                        Document     Page 23 of 47

In re Jason E Watanabe                and Kori L Watanabe                                     / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor

Laundry Land, Inc                                                         Michael Jabaay
14033 S Cicero Avenue                                                     14033 S Cicero Avenue
Crestwood IL 60445                                                        Midlothian IL 60445

Rick Heidner                                                              City of Chicago
5849 S Pulaski Rd A                                                       The Department of Water
Chicago IL 60629                                                          333 S State St., Ste 330
                                                                          Chicago IL 60604




                                                                                                                                  Page    1 of       1
                  Case 14-28908            Doc 1          Filed 08/06/14 Entered 08/06/14 16:45:11                           Desc Main
                                                           Document     Page 24 of 47
 Fill in this information to identify your case:

                     Jason E Watanabe
 Debtor 1           ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2             Kori L Watanabe
                     __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name

                                           NORTHERN
  United States Bankruptcy Court for the: ________________              ILLINOIS
                                                           District of ______________________

 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing post-petition
                                                                                                        chapter 13 income as of the following date:
                                                                                                        ________________
Official Form %6I                                                                                      MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔                                               ✔
    information about additional         Employment status             Employed                                       Employed
    employers.                                                         Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
                                                                    Manager
                                                                    __________________________________             Secretary
                                                                                                                  __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name             Walgreen Co/ILL
                                                                    __________________________________             Elim Christian Services
                                                                                                                  __________________________________


                                         Employer’s address        _______________________________________       ________________________________________
                                                                    Number Street                                  Number   Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?         _______                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.           6365.25                1586.00
                                                                                                $___________          $____________

 3. Estimate and list monthly overtime pay.                                            3.            0.00
                                                                                            + $___________        +           0.00
                                                                                                                      $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.           6365.25
                                                                                                $__________                1586.00
                                                                                                                      $____________



Official Form %6I                                              Schedule I: Your Income                                                       page 1
                 Case 14-28908                       Doc 1            Filed 08/06/14 Entered 08/06/14 16:45:11                                        Desc Main
                  Jason E Watanabe
                                                                       Document     Page 25 of 47
Debtor 1         _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name



                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                             non-filing spouse

   Copy line 4 here............................................................................................ Î 4.         6365.25
                                                                                                                         $___________                  1586.00
                                                                                                                                                 $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                          5a.          1361.77
                                                                                                                        $____________                   254.24
                                                                                                                                                 $_____________
     5b. Mandatory contributions for retirement plans                                                           5b.           470.81
                                                                                                                        $____________                   183.24
                                                                                                                                                 $_____________
     5c. Voluntary contributions for retirement plans                                                           5c.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5d. Required repayments of retirement fund loans                                                           5d.           759.72
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5e. Insurance                                                                                              5e.           545.30
                                                                                                                        $____________                   108.33
                                                                                                                                                 $_____________
     5f. Domestic support obligations                                                                           5f.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
                                                                                                                                0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5g. Union dues                                                                                             5g.
     5h. Other deductions. Specify: __________________________________                                          5h.              0.00
                                                                                                                       + $____________       +             0.00
                                                                                                                                                 $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                   6.         3137.60
                                                                                                                        $____________                   545.81
                                                                                                                                                 $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.         3227.65
                                                                                                                        $____________                  1040.19
                                                                                                                                                 $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                      0.00
                                                                                                                        $____________            $_____________
           monthly net income.                                                                                  8a.
     8b. Interest and dividends                                                                                 8b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                      0.00
                                                                                                                        $____________            $_____________
           settlement, and property settlement.                                                                 8c.
     8d. Unemployment compensation                                                                              8d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8e. Social Security                                                                                        8e.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                                 0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                           8g.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

     8h. Other monthly income. Specify: _______________________________                                         8h.    + $____________
                                                                                                                                 0.00                   0.00
                                                                                                                                             + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                        9.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                          3,227.65                                  4267.84
                                                                                                                        $___________     +            1,040.19 = $_____________
                                                                                                                                                 $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11.               0.00
                                                                                                                                                                     + $_____________
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             4267.84
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


Official Form %6I                                                                Schedule I: Your Income                                                                 page 2
                   Case 14-28908              Doc 1         Filed 08/06/14 Entered 08/06/14 16:45:11                            Desc Main
                                                             Document     Page 26 of 47
  Fill in this information to identify your case:

  Debtor 1           Jason E Watanabe
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                      Check if this is:
                       Kori L Watanabe
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                      An amended filing
                                         NORTHERN                       ILLINOIS
                                                                                                      A supplement showing post-petition chapter 13
  United States Bankruptcy Court for the:___________________District of___________________
                                                                                                         expenses as of the following date:
                                                                                                         ________________
  Case number         ___________________________________________                                        MM / DD / YYYY
  (If known)
                                                                                                      A separate filing for Debtor 2 because Debtor 2
                                                                                                         maintains a separate household
Official Form %6J
Schedule J: Your Expenses                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

       No. Go to line 2.
   
   ✔    Yes. Does Debtor 2 live in a separate household?
               ✔
                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 
                                            ✔   Yes. Fill out this information for Debtor 1 or Debtor 2                    age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                                     son                       10             No
                                                                                         _________________________         ________
   names.                                                                                                                                
                                                                                                                                         ✔    Yes
                                                                                           daughter
                                                                                  _________________________                   10
                                                                                                                           ________          No
                                                                                                                                         
                                                                                                                                         ✔    Yes

                                                                                  _________________________                ________          No
                                                                                                                                             Yes

                                                                                  _________________________                ________          No
                                                                                                                                             Yes

                                                                                  _________________________                ________          No
                                                                                                                                             Yes

3. Do your expenses include                 ✔
                                               No
   expenses of people other than
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                          2022.00
                                                                                                                             $_____________________
     any rent for the ground or lot.                                                                                 4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                        4a.
                                                                                                                                              0.00
                                                                                                                             $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                             4b.
                                                                                                                                              0.00
                                                                                                                             $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                            4c.                      0.00
                                                                                                                             $_____________________
     4d.    Homeowner’s association or condominium dues                                                              4d.                      0.00
                                                                                                                             $_____________________

Official Form %6J                                            Schedule J: Your Expenses                                                         page 1
                 Case 14-28908                Doc 1        Filed 08/06/14 Entered 08/06/14 16:45:11                     Desc Main
                                                            Document     Page 27 of 47
                  Jason E Watanabe
 Debtor 1        _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.
                                                                                                                                    240.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                   100.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                   315.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.                     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.                    760.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.                     50.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                     95.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.                    95.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.                    40.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                                    500.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.
                                                                                                                                    100.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.                     0.00
                                                                                                                     $_____________________

15.   Insurance.                                                                                                                                    1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                     57.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.                    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.                  110.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.                    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                     $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                    0.00
      Specify:_______________________________________________________                                                $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20a. Mortgages on other property                                                                        20a.

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                      0.00
                                                                                                                     $_____________________
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20d. Maintenance, repair, and upkeep expenses                                                           20d.

      20e. Homeowner’s association or condominium dues                                                        20e.                    0.00
                                                                                                                     $_____________________



 Official Form %6J                                            Schedule J: Your Expenses                                                   page 2
                 Case 14-28908                Doc 1       Filed 08/06/14 Entered 08/06/14 16:45:11                         Desc Main
                                                           Document     Page 28 of 47
                  Jason E Watanabe
 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.                     t
       Other. Specify: _________________________________________________                                         21.                    0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                                4484.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                      4267.84
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                  4484.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                      -216.16
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      ✔   No.
         Yes.     Explain here:




 Official Form %6J                                           Schedule J: Your Expenses                                                       page 3
                   Case 14-28908
B6 Summary (Official Form 6 - Summary) (12/13)   Doc 1       Filed 08/06/14 Entered 08/06/14 16:45:11                                  Desc Main
                                                              Document     Page 29 of 47


                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS

   In re Jason E Watanabe                  and Kori L Watanabe                                                               Case No.
                                                                                                                             Chapter 7


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $              233,305.00

 B-Personal Property
                                             Yes                4        $              267,629.83

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                1                                          $              439,599.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                1                                          $                       0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                6                                          $              233,068.97

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                4,267.84

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                          $                4,484.00

                                  TOTAL                       18         $              500,934.83 $                    672,667.97
                   Case 14-28908
B6 Summary (Official Form 6 - Summary) (12/13)   Doc 1            Filed 08/06/14 Entered 08/06/14 16:45:11                              Desc Main
                                                                   Document     Page 30 of 47


                                               UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF ILLINOIS

   In re Jason E Watanabe                  and Kori L Watanabe                                                                   Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $   0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $   0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $   0.00
   Student Loan Obligations (from Schedule F)                                                                     $   0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $   0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $   0.00
                                                                                                     TOTAL        $   0.00

 State the following:


   Average Income (from Schedule I, Line 12)                                                                          $   4,267.84
   Average Expenses (from Schedule J, Line 22)                                                                        $   4,484.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   0.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   116,129.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   233,068.97
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   349,197.97
                    Case 14-28908                 Doc 1
B6 Declaration (Official Form 6 - Declaration) (12/13)        Filed 08/06/14 Entered 08/06/14 16:45:11                                Desc Main
                                                               Document     Page 31 of 47

In re Jason E Watanabe                   and Kori L Watanabe                                                                 Case No.
                                                Debtor                                                                                                            (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           19    sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   8/6/2014                                       Signature   /s/ Jason E Watanabe
                                                                         Jason E Watanabe


      Date:   8/6/2014                                       Signature   /s/ Kori L Watanabe
                                                                         Kori L Watanabe

                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




    CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER                                                              (See 11.U.S.C. § 110)

I certify that I am a bankruptcy preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided the debtor
with a copy of this document.

Preparer:                                                                                            Social security No. :




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.




X                                                                                                  Date:



A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.


     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
 B 7 (Official FormCase
                   7) (4/13)14-28908           Doc 1        Filed 08/06/14 Entered 08/06/14 16:45:11                                  Desc Main
                                                             Document     Page 32 of 47
                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS


In re: Jason E Watanabe                                                                                               Case No.
       and                                                                                                                                 (if known)
       Kori L Watanabe
                                                                                                          ,
                                               Debtor

                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date:                                            wages from employments
   Last Year: 2013-
99,561.00
Year before: 2012 -
121,309.00


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

AMOUNT                                                    SOURCE




                                                                                                                   Statement of Affairs - Page 1
B7 - (Official FormCase     14-28908
                    7) (4/13)                  Doc 1         Filed 08/06/14 Entered 08/06/14 16:45:11                                      Desc Main
                                                              Document     Page 33 of 47
AMOUNT                                                    SOURCE

Year to date:                                             losses from operation of JK Wash & Dry LLC
   Last Year: 2013 - <
6,792.00>
Year before: 2012 -
<26,421.00>


       3. Payments to creditors
None   Complete a. or b., as appropriate, and c.

       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
       creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
       filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)




None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
       commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
       an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
       repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
       must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
       were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                             NATURE OF                                     COURT OR AGENCY
AND CASE NUMBER                             PROCEEDING                                      AND LOCATION                                 STATUS OR DISPOSITION

Heidner Properties                          FED and Back Rent                             !st Muni - Cook                                recently filed
vs                                                                                        County, Chicago
JK Wash & Dry &
Debtors

2014 M1-711173


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


NAME AND ADDRESS OF PERSON FOR                                             DATE OF
WHOSE BENEFIT PROPERTY WAS SEIZED                                          SEIZURE                     DESCRIPTION AND VALUE OF PROPERTY

Name: Chase Bank                                                           8-1-14                      Description: cash from deposit

                                                                                                                       Statement of Affairs - Page 2
B7 - (Official FormCase     14-28908
                    7) (4/13)                Doc 1         Filed 08/06/14 Entered 08/06/14 16:45:11                                    Desc Main
                                                            Document     Page 34 of 47
NAME AND ADDRESS OF PERSON FOR                                           DATE OF
WHOSE BENEFIT PROPERTY WAS SEIZED                                        SEIZURE                    DESCRIPTION AND VALUE OF PROPERTY

Address:                                                                                            accounts
                                                                                                                                      - $3,500 -
                                                                                                    business account
                                                                                                                      -   1,200 -
                                                                                                    personal savings account
                                                                                                                      -      428.16 -
                                                                                                    personal checking account

                                                                                                    Value:         $5,128.16


       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
       family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
       (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
        this case.

                                                       DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                              NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Bernard P. Mulvaney                             Date of Payment:                                             $4,575.00
Sr.                                                    Payor: Jason E Watanabe
Address:

                                                                                                                   Statement of Affairs - Page 3
B7 - (Official FormCase     14-28908
                    7) (4/13)                 Doc 1          Filed 08/06/14 Entered 08/06/14 16:45:11                                   Desc Main
                                                              Document     Page 35 of 47
                                                         DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

7000 West 127th Street
Palos Heights, IL 60463


       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
       or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
       of which the debtor is a benificiary.




       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
       within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
       other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)




       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.




       15. Prior address of debtor
None   If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
       period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
       New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of


                                                                                                                    Statement of Affairs - Page 4
B7 - (Official FormCase     14-28908
                    7) (4/13)                    Doc 1      Filed 08/06/14 Entered 08/06/14 16:45:11                                 Desc Main
                                                              Document                 Page 36 of 47
       the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




       17. Environmental Information
None   For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
       wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
       cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
       debtor,
       including, but not limited to disposal sites.

       "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
       similar termunder an Environmental Law:

       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
       under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
       governmental unit to which the notice was sent and the date of the notice.




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
       party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
       businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
       self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
       all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
       commencment of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
       all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
       commencment of this case.


                                     LAST FOUR DIGITS OF                                                                                        BEGINNING AND
NAME                                 SOCIAL-SECURITY OR                     ADDRESS                       NATURE OF BUSINESS                    ENDING DATES
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.
                                     (ITIN)/ COMPLETE EIN


JK Wash & Dry LLC                    ID:                                    5849 S Pulaski                Laundromat                            10-7-2010
                                                                            Road Chicago, IL                                                    to 7-2014
                                                                            60629




                                                                                                                  Statement of Affairs - Page 5
B7 - (Official FormCase     14-28908
                    7) (4/13)                      Doc 1          Filed 08/06/14 Entered 08/06/14 16:45:11                                         Desc Main
                                                                   Document     Page 37 of 47
None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   08/06/2014                             Signature       /s/ Jason E Watanabe
                                                     of Debtor


                                                     Signature       /s/ Kori L Watanabe
       Date   08/06/2014
                                                     of Joint Debtor
                                                     (if any)




                                                                                                                               Statement of Affairs - Page 6
 B7 - (Official FormCase     14-28908
                     7) (4/13)                     Doc 1       Filed 08/06/14 Entered 08/06/14 16:45:11                                    Desc Main
                                                                Document     Page 38 of 47
    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No.(Required by 11 U.S.C. § 110.)


If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,, responsible
person, or partner who signs this document.




Address



   X
       Signature of Bankruptcy Petition Preparer                                                                            Date




Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.




                                                                                                                        Statement of Affairs - Page 7
                      Case 14-28908
B 8 (Official Form 8) (12/08)                      Doc 1          Filed 08/06/14 Entered 08/06/14 16:45:11                           Desc Main
                                                                   Document     Page 39 of 47
                                                 UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS


In re Jason E Watanabe                    and Kori L Watanabe                                                         Case No.
                                                                                                                      Chapter 7



                                                                                                           / Debtor




                                   CHAPTER 7 STATEMENT OF INTENTION - HUSBAND'S DEBTS
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No.

Creditor's Name :                                                                 Describe Property Securing Debt :
 None



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No.
Lessor's Name:                                                     Describe Leased Property:                                           Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 None                                                                                                                                  365(p)(2):

                                                                                                                                           Yes               No



                                                                        Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 08/06/2014                                                  Debtor: /s/ Jason E Watanabe




                                                                                                                                                    Page    1 of      4
                      Case 14-28908
B 8 (Official Form 8) (12/08)                      Doc 1          Filed 08/06/14 Entered 08/06/14 16:45:11                           Desc Main
                                                                   Document     Page 40 of 47
                                                 UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS


In re Jason E Watanabe                    and Kori L Watanabe                                                         Case No.
                                                                                                                      Chapter 7



                                                                                                           / Debtor




                                       CHAPTER 7 STATEMENT OF INTENTION - WIFE'S DEBTS
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No.

Creditor's Name :                                                                  Describe Property Securing Debt :
 None



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No.

 Lessor's Name:                                                     Describe Leased Property:                                          Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 None                                                                                                                                  365(p)(2):

                                                                                                                                           Yes               No



                                                                        Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 08/06/2014                                                  Debtor: /s/ Kori L Watanabe




                                                                                                                                                    Page    2 of      4
                      Case 14-28908
B 8 (Official Form 8) (12/08)                      Doc 1          Filed 08/06/14 Entered 08/06/14 16:45:11                          Desc Main
                                                                   Document     Page 41 of 47
                                                 UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS


In re Jason E Watanabe                    and Kori L Watanabe                                                        Case No.
                                                                                                                     Chapter 7



                                                                                                          / Debtor




                                        CHAPTER 7 STATEMENT OF INTENTION - JOINT DEBTS
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


 Property No. 1

 Creditor's Name :                                                                 Describe Property Securing Debt :
  Fifth Third Bank                                                                  920 Neufairfield, Joliet, IL 60432



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                     (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


 Property No. 2

 Creditor's Name :                                                                 Describe Property Securing Debt :
  J P Morgan Chase Comm'l Loan                                                      JK Wash LLC



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                     (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt




                                                                                                                                                  Page     3 of      4
                      Case 14-28908
B 8 (Official Form 8) (12/08)                    Doc 1        Filed 08/06/14 Entered 08/06/14 16:45:11                               Desc Main
                                                               Document     Page 42 of 47
       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No. 1

 Lessor's Name:                                                 Describe Leased Property:                                              Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 Heidner Property Management                                                                                                           365(p)(2):
                                                                  JK Wash & Dry LLC, laundromat
 Company, Inc.
                                                                                                                                          Yes              No




                                                                     Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 08/06/2014                                             Debtor: /s/ Jason E Watanabe

Date: 08/06/2014                                             Joint Debtor: /s/ Kori L Watanabe




                                                                                                                                                    Page   4 of   4
               Case 14-28908
Rule 2016(b) (8/91)                   Doc 1      Filed 08/06/14 Entered 08/06/14 16:45:11                  Desc Main
                                                  Document     Page 43 of 47
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS

        Jason E Watanabe                                                                            Case No.
In re
          and                                                                                       Chapter 7
        Kori L Watanabe
                                                                                         / Debtor
        Attorney for Debtor:   Bernard P. Mulvaney Sr.

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           4,575.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                  4,575.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   0.00

3. $             335.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 08/06/2014                              Respectfully submitted,


                                              X /s/ Bernard P. Mulvaney Sr.
                        Attorney for Petitioner: Bernard P. Mulvaney Sr.
                                                 Bernard P. Mulvaney Sr., Ltd.
                                                 7000 West 127th Street
                                                 Palos Heights IL 60463

                                               708-671-2000
                                               bpmulvaneysr@aol.com
            Case 14-28908          Doc 1      Filed 08/06/14 Entered 08/06/14 16:45:11                Desc Main
                                               Document     Page 44 of 47
                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ILLINOIS



In re Jason E Watanabe                                                                    Case No.
      and                                                                                 Chapter 7
      Kori L Watanabe
                                                                            / Debtor
    Attorney for Debtor:   Bernard P. Mulvaney Sr.



                                       VERIFICATION OF CREDITOR MATRIX


                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 08/06/2014                                                   /s/ Jason E Watanabe
                                                                   Debtor

                                                                   /s/ Kori L Watanabe
                                                                   Joint Debtor
Case 14-28908   Doc 1   Filed 08/06/14    Entered 08/06/14 16:45:11   Desc Main
                  Aronberg Goldgehn et
                        Document       al 45 of 47
                                    Page
                  330 N Wabash, Ste 1700
                  Chicago, IL 60611

                  Bernard P. Mulvaney Sr.
                  7000 West 127th Street
                  Palos Heights, IL 60463

                  Chase
                  Po Box 15298
                  Wilmington, DE    19850

                  J P Morgan Chase Comm'l Loan
                  P.O. Box 6026
                  Chicago, IL 60680

                  Christopher J. Goluba P.C.
                  399 Wall Street, Unit H
                  Glendale Heights, IL 60139

                  Citi
                  Po Box 6241
                  Sioux Falls, SD    57117

                  City of Chicago
                  The Department of Water
                  333 S State St., Ste 330
                  Chicago, IL 60604

                  City of Chicago
                  The Department of Revenue
                  120 N Racine
                  Chicago, IL 60607

                  ComEd
                  P.O. Box 6111
                  Carol Stream, IL       60197

                  City of Chicago
                  121 North LaSalle St
                  City Hall Rm 107A
                  Chicago, IL 60602

                  Direct TV
                  P.O. Box 60036
                  Los Angeles, CA    90060

                  Discover Fin Svcs Llc
                  Po Box 15316
                  Wilmington, DE 19850

                  Dr.Pepper 7UP Btlg Co of Chgo
                  15230 S Halsted
                  Harvey, IL 60426

                  Fifth Third Bank
                  5050 Kingsley Dr
                  Cincinnati, OH 45227
Case 14-28908   Doc 1   Filed 08/06/14   Entered 08/06/14 16:45:11   Desc Main
                  FilterDocument
                         Services Inc
                                    Page 46 of 47
                  2555 United Ln
                  Elk Grove Village, IL 60007

                  Hartford Insurance
                  P.O. Box 660916
                  Dallas, TX 75266

                  Heidner Property Management Company, Inc
                  Mging Agent for Parkway B&T
                  399 Wall Street, Unit H
                  Glendale Heights, IL 60139

                  Heidner Property Management Co.
                  399 Wall St., Unit H
                  Glendale Heights, IL 60139

                  Ingalls Memorial Hospital
                  P.O. Box 3397
                  Chicago, IL 60654

                  JK Wash LLC
                  920 Neufairfield Dr.
                  Joliet, IL 60432

                  Joseph Pondelicek
                  20508 Coventry Court
                  Frankfort, IL 60423

                  JP Morgaan Chase Bank, NA
                  PO Box 659754
                  San Antonio, TX 78265

                  Kohls/capone
                  N56 W 17000 Ridgewood Dr
                  Menomonee Falls, WI 53051

                  Laundry Land, Inc
                  14033 S Cicero Avenue
                  Crestwood, IL 60445

                  Lutheran General Hospital
                  c/o ICS
                  P.O. Box 1010
                  Tinley Park, IL 60477

                  Michael Jabaay
                  14033 S Cicero Avenue
                  Midlothian, IL 60445

                  Parkway Bank & Trust atut #11052
                  c/o Heidner Prop Mgt Co., Inc.
                  399 Wall St., Unit H
                  Glendale Heights, IL 60139

                  People Gas
                  P.O. Box 19100
                  Green Bay, WI 54307
Case 14-28908   Doc 1   Filed 08/06/14   Entered 08/06/14 16:45:11   Desc Main
                  Radiology Imaging Consult
                        Document    Page 47 of 47
                  9413 Eagle Way
                  Chicago, IL 60678

                  Rick Heidner
                  5849 S Pulaski Rd A
                  Chicago, IL 60629

                  Sears/cbna
                  Po Box 6283
                  Sioux Falls, SD    57117

                  Security One
                  11601 Wilshire Blvd
                  Los Angeles, CA 90025

                  Susquehanna Commercial Finance
                  2County View Road, Ste 300
                  Malvern, PA 19355

                  Waste Managment
                  700 E Butterfield Rd., 4th Fl
                  Lombard, IL 60148

                  Jason E Watanabe
                  920 Neufairfield Drive
                  Joliet, IL 60432

                  Kori L Watanabe
                  920 Neufairfield Drive
                  Joliet, IL 60432
